                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

IN RE:                                       )
Anthony Lee Pierce                           ) Bankruptcy No. 11-83381-CRJ-13
Peggy Harbin Pierce                          )
SSN: XXX-XX-3914, XXX-XX-6237                )
                                             )
                                             ) CHAPTER 13
Debtors.                                     )


                ORDER GRANTING TRUSTEE’S MOTION TO MODIFY

       This matter came before the Court on August 24, 2016 on Motion of the Trustee to
Modify Chapter 13 Plan. Present were Michele Hatcher for Michael Ford, Chapter 13 Trustee
and Kevin Heard, attorney for Debtors.
       This Court, after consideration of the matter, has determined that for good cause shown,
the Trustee’s Motion should be granted, and it is therefore ORDERED, ADJUDGED and
DECREED as follows:
       The Trustee’s Motion to Modify Plan to provide that the non-exempt proceeds of the
Debtors’ pending Auto Accident claim be payable to the Chapter 13 Trustee for distribution to
unsecured creditors and that the base amount due under the Plan will be increased by the amount
of money the Trustee receives from the claim, and that the Trustee shall be allowed a fee on the
claim proceeds that the Trustee distributes is GRANTED.


Dated this the 25th day of August, 2016.

                                                    /s/ Clifton R. Jessup, Jr.
                                                    Clifton R. Jessup, Jr.
                                                    United States Bankruptcy Judge




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